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                          UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA

 10 INTERNATIONAL BROTHERHOOD                   CASE NO:
    OF TEAMSTERS, LOCAL 396                     2:18−cv−03681−SVW−E
 11
             Petitioner(s),
 12                                             ORDER SETTING INITIAL
         v.                                     STATUS CONFERENCE
 13
    NASA SERVICES, INC.
 14
 15
                 Respondent(s).
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 18
                     IT IS HEREBY ORDERED that a Status Conference be set
 19
      for Monday, July 2, 2018 at 03:00 PM, before the Honorable Stephen V.
 20
      Wilson. The attorneys attending this conference MUST be those who are in charge
 21
      of the conduct of the trial. Attendance is mandatory.
 22                  This Court views this status conference as critical to its case
 23   management responsibilities. Counsel are required to approach it with the same
 24   seriousness.
 25                  IT IS FURTHER ORDERED that counsel meet and confer prior
 26   to conference in accordance with Local Rule 26, however, counsel are not required
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      to file any documents, such as an Early Meeting Report or the Status Conference
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      Report.
 3                  Failure on the part of counsel to participate knowledgeably in
 4    the conference may result in sanctions.
 5                  IT IS FURTHER ORDERED that, at the Status Conference,
 6    counsel must be fully prepared to inform the Court of the following:
 7                  (1) the theory of the case, both factual and legal,
 8                  (2) settlement potential and approaches including an
 9                      examination of whether a limited trial on certain bifurcated
 10                     issues could lead to an overall disposition of the case,
 11                 (3) length of trial, jury vs non−jury, unusual trial problems, etc.,
 12                 (4) motions to be filed and an explanation for their necessity.
 13                 This Court will not continue this status conference except upon
 14   a showing of good cause.
 15                 (Rule 26f) Counsel should view the discovery period as a time
 16   for the orderly and cooperative exchange of information essential to a resolution
 17   of the case. Sanctions will be imposed if counsel impede the discovery process
 18   through contentiousness and over−litigiousness. In short, the Court does not view

 19   the pre−trial process as an arena or a series of hostile skirmishes, but rather as a

 20   structure through which legal and factual positions are openly and candidly
 21   exchanged. The goal must be the early and inexpensive settlement of the cases
 22   or the refinement of issues for trial.
 23                 All discovery matters have been referred to a United States

 24   Magistrate Judge as provided in this Court's Standing Order. Discovery disputes

 25   of a significant nature should be brought promptly before the Magistrate Judge.

 26   The Court does not look favorably upon delay resulting from unnecessarily
 27   unresolved discovery disputes. Any discovery disputes that are not resolved
 28   three (3) weeks prior to the scheduled trial date should be brought promptly

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        and directly to the attention of this Court.
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                       Plaintiff's counsel, or counsel for defendant if plaintiff is pro se,
  3     is to provide written notice of this conference and the meeting requirements
  4     to any parties appearing, who are known and not yet formally appeared, on
  5     or after the date of this order.
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           IT IS SO ORDERED.
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       DATED: June 8, 2018
  9                                        Stephen V. Wilson
                                           United States District Judge
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